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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   ANDY KIM, in his personal capacity
   as a candidate for U.S. Senate, et al.,   Case No.: 3:24-cv-1098-ZNQ-TJB

                Plaintiffs,
         v.

   CHRISTINE GIORDANO HANLON,
   in her official capacity as Monmouth
   County Clerk, et al.,

                Defendants.



              BRIEF ON BEHALF OF PROPOSED INTERVENORS
                 IN SUPPORT OF MOTION TO INTERVENE


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                                   INTRODUCTION

       The proposed Intervenors, Morris County Republican Committee (“MCRC”)

 and Laura Ali, in her capacity as Chair of the MCRC, (collectively, “Republican

 Intervenors”), seek intervention on an emergent basis. This is necessary to address

 issues which may be raised by parties in the underlying litigation or any appellate

 proceedings regarding the scope of the Court’s March 29, 2024 Preliminary Injunction

 granted in favor of three democratic candidates for federal office, which the Court

 confirmed by Letter Order on March 30, 2024, does not apply to the June 4, 2024,

 Republican Primary. While this Order addressed MCRC’s most immediate concerns,

 intervention on an expedited basis is still necessary to the extent that the Letter Order

 is appealed directly, or if this Court in future proceedings, or the Third Circuit on

 appeal, issue rulings that do impact future Republican primaries. No individual or

 entity which is currently a party to this case can adequately represent the Republican

 Intervenors’ interests as to the scope of the Court’s Order or on the impact on their

 First Amendment Associational rights. In addition, no entity currently in this case can

 address whether ballot design issues are nonjusticiable political questions. As such,

 intervention on an emergent basis is warranted.

                              PROCEDURAL HISTORY

       This case was brought by three democratic candidates: Andy Kim, Sarah

 Schoengood, and Carolyn Rush, as their official campaign entities, (collectively,

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 “Plaintiffs”), to challenge New Jersey’s primary election bracketing and ballot

 placement system.     The Verified Complaint alleges that the federal Democratic

 candidates’ Constitutional rights to Vote, Equal Protection, Freedom of Association,

 and rights under Elections Clause, will be violated by the imposition of the state’s

 ballot bracketing and placement statutes in the upcoming “Primary Election,” which is

 specifically defined as the June 4, 2024 Democratic Primary Election (Complaint, at

 1).

       Simultaneously with filing their Verified Complaint, Plaintiffs filed a motion for

 a preliminary injunction, arguing that without an injunction Plaintiffs’ rights will be

 harmed by the Defendants’ conduct “in the upcoming June 4, 2024 Democratic

 Primary Election (‘Primary Election’)…” (Plaintiffs’ Brief in Support of Motion for

 Preliminary Injunction, Dkt. 5-1, at 2). Plaintiffs’ brief concludes the same way it

 begins, by asking the Court to “grant Plaintiffs’ motion for a preliminary injunction

 that stops Defendants’ deeply unconstitutional actions regarding ballot design from

 being implemented or used in the 2024 Democratic Primary Elections.” (Plaintiff’s

 Motion for a Preliminary Injunction, Dkt. 5-1, at 53) (emphasis added).

       Additionally, Plaintiffs filed a motion for their preliminary injunction to be

 heard on an emergent basis, once again arguing that it was necessary for the Court to

 act quickly based on the harm which could be incurred by Plaintiffs, in the June 4,

 2024, Democratic Primary. [Dkt. 6]


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        Pursuant to the Court’s March 8, 2024 Text Order [Dkt. 74], the time to file

 answers in this case has been stayed for all parties.1 While the initial preliminary

 injunction has been granted on March 29, 2024, the case is still pre-answer, and the

 Court’s decision to date is limited to granting emergent relief applicable to Plaintiffs

 in the June 4, 2024 Democratic Primary.

        To date, only one political party – the Camden County Democratic Committee

 (“CCDC”) – has sought Intervenor status, which this Court granted on March 14, 2024

 [Dkt. 121]. Similar to CCDC, the Republican Intervenors move to intervene in this

 case as it moves forward to make sure that unique interests as to their constitutional

 rights to association under the First Amendment are advocated and advanced before

 the Court as currently set forth in the Legislative scheme established by the Legislature.

 Furthermore, Republican Intervenors have significant concerns that if the Court

 ultimately upholds its preliminary injunction ruling as a final decision in this case, that

 the same arguments raised by Plaintiffs could be adopted and expanded to also prohibit

 “party lines” in a general election and could have far reaching consequences on

 elections throughout this country.

        Republican Intervenors also move to intervene on an emergent basis on the issue


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   Pursuant to that Order, and the footnote contained in the Court’s Order March 14, 2024 Order [Dkt.
 121] granting Intervenor Status to the Camden County Democratic Committee, Republican
 Intervenors are not filing a proposed responsive pleading at this time, as would normally be required
 pursuant to Court Rules. However, Intervenors will file a responsive pleading in the time period
 directed by the Court when and if the Court’s March 8, 2024 Stay on responsive pleadings is lifted.

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 of the scope of the Court’s Preliminary Injunction. MCRC raised this issue by letter

 on March 29, 2024, [Dkt. 196], and the Court confirmed MCRC’s understanding that

 based on the specific legal issues raised by Plaintiffs and the procedural posture of the

 case, “The Court’s Order is therefore limited to the 2024 Democratic Primary Election

 only, and this Court declines to extend the scope of its decision beyond the limitations

 of the present litigation.” (Letter Order, dated March 30, 2024).

         While the Court’s Order addressed MCRC’s most immediate concerns,

 Republican Intervenors now seek to intervene in this case pursuant to Federal Rule of

 Civil Procedure Rule 24 (a) and (b) to protect their legal interests to the extent the scope

 of the Court’s Preliminary Injunction is challenged on appeal, and to the extent that

 any further legal proceedings in this case could impact their rights and interests.

                                  LEGAL ARGUMENT

    I.    THE STANDARD FOR INTERVENTION

          Federal Rule of Civil Procedure Rule 24(a) governs intervention as of right

  and provides, in relevant part:

                [o]n timely motion, the court must permit anyone to
                intervene who . . . claims an interest relating to the
                property or transaction that is the subject of the action, and
                is so situated that disposing of the action may as a practical
                matter impair or impede the movant’s ability to protect its
                interest, unless existing parties adequately represent that
                interest.

          Rule 24 also provides for permissive intervention, which is available upon


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  timely application when a non-party “has a claim or defense that shares with the

  main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B).

  “Whether to grant permissive intervention under Rule 24(b), as the doctrine’s name

  suggests, is within the discretion of the district court.” Brody v. Spang, 957 F.2d

  1108, 1124 (3d Cir. 1992). “In exercising its discretion, the court must consider

  whether the intervention will unduly delay or prejudice the adjudication of the

  original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

   II.    THE COURT SHOULD GRANT REPUBLICAN INTERVENORS’
          REQUEST TO INTERVENE UNDER FED. R. CIV. P. 24 (b)(1)(B) AS
          GRANTED TO CCDC IN THE COURT’S MARCH 14, 2024 ORDER
          [DKT. 121]

         On March 14, 2024, this Court granted the request of the Camden County

 Democratic Committee to Intervene under the “permissive intervention” standard of

 Rule 24(b). The Court’s Order granting CCDC permissive intervention held as follows:

              Permissive intervention under Rule 24(b), as the name
              suggests, affords a court with some discretion as to whether
              to join the would-be party: “[o]n timely motion, the court
              may permit anyone to intervene who . . . has a claim or
              defense that shares with the main action a common question
              of law or fact.” Fed. R. Civ. P. 24 (b)(1)(B). “In exercising
              its discretion, the court must consider whether the
              intervention will unduly delay or prejudice the adjudication
              of the original parties’ rights.” Fed. R. Civ. P. 24 (b)(3). The
              decision of whether to grant or deny intervention under Rule
              24(b)(1)(B) is discretionary. Brody By & Through Sugzdinis
              v. Spang, 957 F.2d 1108, 1124 (3d Cir. 1992).

 Court’s Order, March 14, 2024 [Dtk 121].


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        As the Court found with CCDC, Republican Intervenors have “defenses that

  share common questions of law and fact regarding the constitutionality of New Jersey’s

  primary election system, as well as its administration and application of New Jersey’s

  election laws.” [Dkt. 121] Republican Intervenors have their own First Amendment

  Constitutional Rights at issue, including their right to associate with a group of

  candidates and to communicate with voters about that association by appearing

  together in a line on the ballot. Republican Intervenors will also argue to the Court at

  the appropriate time that the alleged effects of “the line” do not take into account

  numerous other factors, including name recognition, experience, incumbency,

  fundraising, public record, and community involvement. Additionally, Republican

  Intervenors as political party organizations have concerns that the same arguments

  advanced by Plaintiffs in this case could be extrapolated and applied to a general

  election and impact the rights of Republican candidates to affiliate and appear together

  on a general election ballot. Republican Intervenors’ concerns on these issues are

  significant and share defenses and common questions of law and fact with other parties

  and defendants in this case.

        On the issue of timeliness, there are two separate, but related issues. First, the

  matter has currently only been heard on a preliminary injunction, and the Court’s Order

  is currently limited to the June 4, 2024 Democratic Primary Election. No answers have

  yet been filed in this case, which is only a month old, and Republican Intervenors

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  should be granted intervenor status to participate in all further proceedings in this case.

        Second, and on a more emergent basis, Republican Intervenors seek intervenor

  status in the event that the Court’s March 30, 2024 Letter Order is challenged or that

  the scope of the Court’s current Opinion as to the 2024 June Democratic Primary is

  potentially applied to the 2024 June Republican Primary on appeal. No other parties

  currently in this case are in a position to address those issues to adequately protect the

  interests of Republican Intervenors.

        Republican Intervenors anticipate that some party may object to the Intervention

  motion following the Court’s decision. However, such objections should not overcome

  Republican Intervenors’ interests in immediate intervention. The Third Circuit has

  noted that to determine timeliness the courts are to look at what proceedings of

  substance on the merits have occurred, and to what extent would the intervention

  prejudice the parties who have already been involved. Mt. Top. Condo. Ass’n v. Dave

  Stabbert Master Builder, Inc., 72 F.3d at 369-70. The Third Circuit also recognized

  that “intervention has been allowed even after the entry of a judgment.” Id. at 370

  (citations omitted).

        Here, the immediate question regarding the scope of the injunction did not

  clearly arise until the Court’s March 29, 2024 Preliminary Injunction Opinion and

  Order, and then clarified by the Court’s March 30, 2024 Letter Order. The issue of the

  scope of the Preliminary Injunction is an issue which was not previously raised nor


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  articulated until this time.

         While that discreet issue has resolved in Republican Intervenors’ favor at the

  moment, it is possible that some party will challenge the Court’s March 30, 2024 Letter

  Order or that subsequent decisions by this Court or the Third Circuit could impact the

  future Republican primary elections and/or the scope of the Court’s Preliminary

  Injunction. Even the Court’s Letter Order of March 30, 2024 suggests that in a different

  procedural setting the Court may be inclined to apply the same rationale set forth in its

  current Preliminary Injunction to a future Republican primary. As such, to protect the

  rights of Republican Intervenors in this specific litigation or the potential collateral

  future impacts of decisions made in the course of this litigation on future claims,

  Republican Intervenors seek the ability to intervene immediately on an expedited basis.

  Republican Intervenors’ involvement would not impact any party’s rights or delay any

  proceedings.

    III. REPUBLICAN INTERVENORS SHOULD BE PERMITTED TO
         INTERVENE AS A MATTER OF RIGHT PURSUANT TO FED. R.
         CIV. P. 24(a)(2).

         Republican Intervenors recognize that the Court granted CCDC permissive

  intervenor status, and therefore, did not reach the issue of whether CCDC would have

  the ability to intervene as of right. However, in addition to permissive intervention,

  Republican Intervenors should also be permitted to intervene as of right.

         The Third Circuit has held that a non-party seeking intervention as of right under


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  Rule 24(a)(2) must establish (1) a timely application for leave to intervene; (2) a

  sufficient interest in the underlying litigation; (3) a threat that the interest will be

  impaired or affected by the disposition of the underlying action, and (4) that the

  existing parties to the action do not adequately represent the prospective intervenor’s

  interests. Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d 216, 220 (3d Cir. 2005); see

  also Kleissler v. U.S. Forest Serv., 157 F.3d 964, 969 (3d Cir. 1998). “Each of these

  requirements must be met to intervene as of right.” Id. (citing Mountain Top Condo.

  Ass’n. v. Dave Stabbert Master Builder, Inc., 72 F.3d at 366). Here, Republican

  Intervenors satisfy all of these requirements in this case.

        As already discussed, Republican Intervenors’ intervention is timely. The scope

  of the Preliminary Injunction Opinion and Order and the related March 30, 2024 Letter

  Order are only a few days old. The current litigation, whether on appeal in the Third

  Circuit or before this Court for further proceedings, could challenge the Court’s scope

  of the Preliminary Injunction or result in a board ruling that collaterally impacts the

  constitutional rights asserted by Republican Intervenors. Despite the entry of a

  preliminary injunction of significant importance, this case is still at a pre-answer phase

  and the ultimate merits are still to be determined. Additionally, while it is unclear what

  issues may be raised on appeal or the timing and procedure for those motions (some of

  which are already pending), Republican Intervenors’ rights may be impacted by those

  future proceedings, including but not limited to challenges to the Court’s March 30,


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  2024 Letter Order or arguments that decisions regarding the constitutionality of the

  Democratic primary have an impact on the Republican primary now or in the future.

  Hence, the need for immediate intervention.

        Republican Intervenors have a sufficient interest in the underlying litigation. A

  party seeking intervention as of right “must demonstrate that there is a tangible threat

  to a legally cognizable interest to have the right to intervene.” Mountain Top, 72 F.3d

  at 366. Our courts liberally construed Rule 24(a) “in favor of intervention.” NLRB v.

  Frazier, 144 F.R.D. 650, 655 (D.N.J. 1992).

        As articulated by CCDC in its motion, Republican Intervenors also have an

  interest in protecting their right to freedom of association and to communicate that

  right to voters. Their candidates have a right to appear together on the ballot so that

  voters are aware of the relationship and shared values. Republican Intervenors do not

  believe that simply permitting the same slogan is sufficient to protect their freedom of

  association, and also believe that the Legislature, not the judiciary, is properly

  empowered with making decisions regarding bracketing, ballot design, and ballot

  placement.

        Further, the issue of ballot design is a political matter, which is further

  underscored by the fact that primaries are internal party processes and that the county

  clerks who make discretionary decisions are elected under the New Jersey

  Constitution. Finally, there may also be a difference in the analysis between federal


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  candidates, state candidates, and county and local candidates. All of these issues relate

  to the rights of candidates and political parties to the freedom of association and the

  rights of the legislature to enact laws governing ballot access.

        We believe that those rights have been articulated in Kusper v. Pontikes, 414

  U.S. 51 (1973), and Eu v. San Franscisco County Democratic Central Committee, 489

  U.S. 214 (1989), and while this Court may disagree on the extent that those cases

  extend to bracketing or ballot placement, if the Court’s current decision is subsequently

  applied to future Republican primaries, it will impact and burden the rights of

  Republican Intervenors.

        Republican Intervenors have an interest in determining how they wish to select

  their county and local candidates and how those candidates wish to be bracketed. This

  is especially true in light of New Jersey Supreme Court cases that have upheld the

  bracketing system in cases unrelated to federal candidates, such as Quaremba v. Allan,

  67 N.J. 1 (1975), and Schundler v. Donovan, 377 N.J. Super. 339 (App. Div. 2005).

        Finally, MCRC, as a statutory county political party, and Chairwoman Laura Ali

  as the elected head of the county party, have an interest to the extent that the Court’s

  decision in this case could ultimately be extended to prohibiting candidates in a general

  election from appearing together as a party.

        Undoubtedly, if the Court upholds its current preliminary finding as a final

  disposition the impact of that decision could be applied in the future to the Republican


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  primary in a subsequent case, even if not directly applied in this one. As such, there

  is no question that Republican Intervenors’ interests in having their candidates appear

  together on the ballot will be significantly impaired or affected by the disposition of

  the underlying action.

        No current party represents the interests of Republican Intervenors on these

  issues. “The requirement of the Rule is satisfied if the applicant shows that

  representation of his interest ‘may be’ inadequate; and the burden of making that

  showing should be treated as minimal.” Mountain Top, 72 F.3d at 323 (citing Trbovich

  v. United Mine Workers, 404 U.S. 528, 538 n.10 (1972)). While MCRC may also be a

  county organization similar to CCDC, it is noted that CCDC did not file its own brief

  opposing the motion for a preliminary injunction or raising issues about the First

  Amendment rights of its organization. (Opinion at 1, n1). Further, they are differently

  situated as organizations representing different parties and different county

  organizations.

        It is also noted that while traditionally the Attorney General would defend the

  statutes as passed by the Legislature, here, the Attorney General has decided not only

  not to defend those statutes, but to take a position affirmatively opposed to advocating

  the State’s interests as set forth by the Legislature when the Legislature passed the

  ballot bracketing and placement statutes. Therefore, there is no entity currently in this

  case to provide counter-balancing constitutional arguments or state policy interests on


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  behalf of the political party organizations who wish to associate through “the line” on

  the ballot or on behalf of candidates who wish to so affiliate with those organizations.

                                      CONCLUSION

        Based on the foregoing, Intervenors Morris County Republican Committee and

  Laura Ali, in her capacity as Chair of the Morris County Republican Committee,

  respectfully submit that they should be permitted to intervene as a matter of right in

  this litigation, and on an emergent basis so as to protect their interests on the scope of

  the Court’s Preliminary Injunction as clarified on March 30, 2024, and to the extent

  that any future proceedings before this Court or on appeal could have the effect of

  impacting the conduct of future Republican primaries.


                                          Respectfully submitted,

                                          KING MOENCH & COLLINS LLP

                                          /s/ Peter J. King
                                          Peter J. King, Esq.


                                          /s/ Matthew C. Moench
                                          Matthew C. Moench, Esq.

  cc: All counsel (via ECF)




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